         Case 1:19-cr-10459-RWZ Document 1188 Filed 08/04/20 Page 1 of 2



                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS


                             CIVIL ACTION NO. 19-CV-10459-RWZ


                                          UNITED STATES

                                                    v.

                                            LUIS MENDEZ


                                                ORDER

                                            August 4, 2020

ZOBEL, S.D.J.

        With the assent of all but two of the defendants in this case, the government

moved to exclude from all Speedy Trial Act calculations the time between 1) April 7 and

June 9, 2020, Docket # 970, 2) June 9 and July 27, 2020, Docket # 994, and 3) July 22

and September 23, 2020, Docket # 1143. Luis Mendez objected to the first motion

orally at a status conference on April 7, 2020, Docket # 701, and then via written

motion, Docket # 708. Mr. Mendez did not assent to the second and third motions, but

he did not file any further objections. The Magistrate Judge has already allowed the first

and second motions with respect to all defendants except Mr. Mendez and one other

defendant. Dockets ## 1092, 1094. The third motion awaits her decision.

        The defendant’s objections to all three motions are overruled. 1 This case is

complex. The co-defendants, with whom defendant is presumptively joined, see United

States v. DeLeon, 187 F.3d 60, 63 (1st Cir. 1999), agree to this exclusion. There


1I assume Mr. Mendez’s initial written objection is extended to the other two motions, as he did not
assent to either of them.

                                                    1
        Case 1:19-cr-10459-RWZ Document 1188 Filed 08/04/20 Page 2 of 2



have been understandable delays in pretrial discovery. 2 And the pandemic currently

prevents the court from holding jury trials. In the interest of justice, see 18 U.S.C. §

3161(h)(7), defendant’s objections are overruled. The Magistrate Judge’s rulings on the

government’s motions regarding the periods from April 7 to June 9 and June 9 to July

27, Dockets ## 1092 and 1094, apply now to Mr. Mendez as to the other defendants.



____ August 4, 2020 _                                     /s/ Rya W. Zobel
        DATE                                                  RYA W. ZOBEL
                                                     UNITED STATES DISTRICT JUDGE




2Defendant acknowledges that discovery delays arose when the parties could not reach agreement on a
protective order.

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